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                                                                                   04-CV-2019-900020.00
                                                                                    CIRCUIT COURT OF
                                                                               AUTAUGA COUNTY,ALABAMA
                                                                                  DEBRA HILL,CLERK
             IN THE CIRCUIT COURT OF AUTAUGA COUNTY,ALABAMA


DARRYL L. BROWN,

        Plaintiff(s),                           *             Case No.
                                                *
v.
                                                *
                                                *
FORD MOTOR COMPANY; Fictitious                  *
parties "A","B","C" whose names are             *
Unknown to the Plaintiffs at this time,         *
or if their names are known their identity              JURY TRIALDEMANDED
as proper party, but whose names will be        *
                                                *
added by amendment when the aforesaid
lacking knowledge is ascertained.               *
                                                *
        Defendant(s).                           *


                                          COMPLAINT

                                          THE PARTIES

        1.      Plaintiff Darryl Brown,(-Plaintiff') is an individua] rešident and citizen of Autauga

County, Alabama.

        2.      Defendant, Ford Motor Company (hereinafter "Fore)on information and belief is

a corporation doing business in Autauga County, Alabama.

                                  FACTUAL ALLEGATIONS

        3.      This, case arises out of defects and design of a motor vehicle purchased by the

Plaintiff herein.

       4.      On or about August 8, 2014,Plaintiffentered into a motor vehicle purchase contract

with Long-Lewis for the purchase of a 2013 Ford F-250, VIN 1 FT7W2BT6DEA14896

(hereinafter referred to as the "Ford" or "vehicle").

        5.     The vehicle was equipped with a 6.7-liter diesel engine and was purchased for
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  Plaintiffs personal use and enjoyrnent.

                  6. The purchase price was approximately $50,000.00.

                                               FORD'S SCHEME

            7.       In 2011 Ford introduced a new 6.74iter "Power Sttoke" diesel engine used in both

  the model F-250 and the F-350 Pick Up Trucks, Ford claimed that the new engine enabled "a

  remarkable reduction" in emissions and fuel consumption.-

            8.       Ford marketed these vehicles as environmentally-friendly trucks that combined

  high fuel efficiency .and performance with very low ernissions. Ford touted the vehicles as the

  "cleanest Super Duty diesel ever" with - "best-in-class fiiel economy" and. using a special

  combustion system to meet state and federal emissions requirements..

            9.       Ford lied to both consumers and regulators because in real world use the diesel

  engines emitted 'Nitrogen Oxide(NOX)and other pollutants in excess lawful amounts.

            10.      The plaintiffs vehicle was equipped with a Ford 6.7-liter "Power Stroke - diesel

  engine.

            11.      As part of the fraud and scherne. Ford charged a premium price for vehicles with

  the "Power Sttoke" engine.

            12.      Plaintiff could have purchased a gasoline.thodel titck for Much less bp.t, relying on

  representations made by Ford, paid a premium price for a vehicle with the "Power Stroke" diesel

• engirie

            13.      The representations by Ford that the engine was ehyirontnentally-friendly and a

  '-'clean diesel" were false and at all re]evant tirnes Ford knew they was .false.

            14.      The representations about fuel economy and the reduction of eniissions from the

 'Tower Stroke' engines only occurred when the vehicle operated in the conditions present in an



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emissions testing envirOuMent. With day-to-day use outside of a testing environment, the vehicles •

polluted heavily, and the promised fuel economy was achieved by reduction of the emission

controls.

                                     PATTERN AND PRACTICE

        15.     Ford F-250 and F-350 Super Duty vehicles with diesel. engines tn.antifactured.

from 2011. to 2017 produce emissions in excess of the required legal standards.

        16..    Ford successfully marketed and sold tens of thousands of these premium priced

vehicles as "clean." In doing so, Ford purposefully and intentionally breached air pollution laws

and regulations by thantifactUring and selling in the United States vehicles that made use of "defeat

devices," which included. software designed. to "cheat" during emissions tests making it appear

that the vehicles achieved low emissions levels:

        17.     These vehicles were defective as stated herein, and Plaintiff has suffeted damages

for Ford's breach of warranty and misrepresentation such as.. loss of money, loss of use of the

vehicle, premature deprecation, loss of value, loss oftime, aggravation and mental anguish.

        18. -   The statute of limitations.is tolled as to Plaintiffs claims, due to the comm.encem.ent

of a nationwide class action, based on same or similar allegations, Len Gamboa, et. al. v. Ford

Alotor Company, a al. Case 18-cv-.10106 filed 01/1.0/2018, filed in the Eastern District Of

Michigan. See American .Pipe.& Construction Co v. State of Utah, 414 U.S. 538.

        19.     Plaintiffrelied on representations contained in Ford's media advertising and printed

material when making the decision to purchase the vehicle at issue.

     . • 20.    If Plaintiff had known about these defects at the time of sale Plaintiff would not

have purchased the vehicle or would have. paid less for it.

       21.      .Based on Ford's omissions and/or misrepresentations, Plaintiff suffered a loSs of



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money, property, and/or value of their vehicle, including, but not limited to, out of pocket costs.

       22.        Plaintiffs purchas.e of the vehicle was accompanied by express warranties offered

by Ford and extending to the Plaintiff.

       23.        These warranties were part of the basis of the bargain of Plaintiffs contract for

purchase of the vehicle.

       24.        The basic warranty covered any repairs or replacernents needed during the warranty

period due to defects in factory materials or workmanship. All warranty repairs and adjustments,

including parts and labor, were to be made at no charge. Additional warranties were set forth in

the warranty guide and the Ford owner's manual.

       25.     Although the emissions control was the major problem with the vehicle Plaintiff

has had numerous other problems with the vehicle resulting in loss of use of the vehicle,lost time,

loss of money and aggravation.

       26.     Ford's brochures also represented that the Super Duty has "best-in-class towing

capabilities," but suppressed the fact that this capability was only possible by software that turned

down emission controls.

       27.     The representations by Ford that the engine was environmentally-friendly and a

"clean diesel" were false and at all relevant times Ford knew they was false.

       28.     Plaintiff could have purchased a model comparable gasoline powered vehicle for

approximately $10,000 less, but instead paid an inflated price the "clean diesel."

                                           COUNT ONE
                                             FRAUD

       29.     Plaintiff realleges and adopts all of the foregoing relevant paragraphs contained in

this complaint.

       30.     This action is brought pursuant to the Code of Alabama, 1975, § 6-5-100, 6-5-101,


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and other applicable law.

       31.     The vehicle was defective as described above.

       32.     Ford was aware of the defects of said vehicle and failed or refused to correct said

defects before it was offered for sale to the public

       33.     Said representations regarding the quality of the vehicle and the Power Stroke

Engine specifically were false and Ford knew they were false. Ford intentionally suppressed the

fact that the vehicle had numerous defects as stated herein.

       34.     Plaintiff believed said representations, reasonably relied on them and innocently

acted upon them to their detriment by purchasing said vehicle.

       35.     As approximate result of said representations made by Ford, Plaintiff was caused

to suffer the following injuries and damages:

       a.      Loss of money

       b.      Mental anguish and ernbarrassment.

       32.     Plaintiff claims punitive damages of the defendant because of the intentional or

gross and reckless nature of the fraud.

       WHEREFORE,Plaintiff demands judgment against the Ford as follows:

               a.      Compensatory and Consequential darnages.

               b.      Punitive damages.

               c.      Reasonable attorney's fees

               d.      Costs of this action.

               e.      Whatever further and different legal and/or equitable relief to which the
               Plaintiff may be entitled in this cause.


                                          COUNT TWO
                                   FRAUD IN THE INDUCEMENT


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       33.     Plaintiff realleges and adopts all of the foregoing relevant paragraphs contained in

this complaint.

       34.     Ford represented to Plaintiff that said vehicle made the subject ofthis action would

be delivered free from defects and if there were defects, the said defects would be promptly

repaired.

       35.     In fact, said vehicle was not free from defects, was not fit for its ordinary and

particular uses.

       36.     The representations above, which were made to Plaintiff, were, in fact, false and

fraudulent. Said representations made by Ford induce the purchase said vehicle

        WHEREFORE, Plaintiff demands judgrnent against the defendant, Ford, for actual and

punitive damages, separately and severally, in an amount in excess of the jurisdictional

requirements of this court, plus costs and interest.

                                     COUNT THREE
                              BREACH OF EXPRESS WARRANTY

       37.     Plaintiffrealleges and adopts all the foregoing relevant paragraphs contained in this

complaint.

       38.     Ford represented and warranted to Plaintiff that said vehicle purchased.was free of

defects. It was further represented to Plaintiff that if any defects were discovered that the sarne

would be promptly corrected.

      . 39.        After purchasing said, vehicle Plaintiff discovered the defects as stated which

render the vehicle unsafe and less valuable.

       40.     Plaintiff alleges that there are other numerous defects not listed above.

       WHEREFORE,Plaintiff demandsjudgment against the defendant, Ford, as follows:
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                a.     Compensatory punitive damages.

                b.     Consequential damages.

                c.      Reasonable attorney's fees pursuant to Ala. Code 1.975 § 8-20-8.

                d.     Costs of this action.

                e.      Whatever further and different ]egal and/or equitable relief to which the
                Plaintiff may be entitled in this cause.

                                     COUNT FOUR
                             BREACH OF IMPLIED WARRANTY

       41.      Plaintiff reaJleges and adopts all of the foregoing relevant paragraphs in this

complaint.

       42.      At the time of the Plaintiffs purchase, Defendant expressly warranted and

warranted by implication that said vehicle was free from defects and was fit for its ordinary and

particular uses or if there were defects, that the same would be promptly repaired to the Plaintiffs

satisfaction.

       43.      The total cash price of the said vehic]e at issue in the cause was $44,000.00 and

Plaintiff found that the said vehicle was defective as stated above.

       44.      Plaintiff further aver that the defendant, Ford, has been notified of the existence of

said. defects. Plaintiff was promised that the defects would be repaired to their satisfaction, but the

defendant, Ford, failed and/or refused to correct said defects.

        WHEREFORE,Plaintiff demands judgment against the defendant, Ford, as follows:

                a.     Compensatory and punitive damages.

                b.     Consequential damages.

                c.     Reasonable attorne?s fees.

                d.     Costs of this action.
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               e.      Whatever further and different ]egal and/or equitable relief to which the
               Plaintiff may be entitled in this cause.

                                 COUNT FIVE
                 VIOLATION OF MAGNUSON-MOSS WARRANTY ACT
                            (15 U.S.C.§ 2301,et seq.)

       45.     Plaintiff herein incorporates by reference ever)/ prior allegation as though here fully

restated and realleged.

       46.     Plaintiff is a "consumer' as defined in the Magnuson-Moss Warranty Act

(hereinafter referred to as the "Warranty Act''), 15 U.S.C. § 2301(3).

       47.     The manufacturer, Ford, is a "seller' and "warrantof' as defined by the Warranty

Act, 15 U.S.C. § 2301(4),(5).

       48.     The vehicle in question is a -consumer producr as defined in the Warranty Act, 15

U.S.C. § 2301(1).

       49.     The vehicle in question was manufactured and sold after July 4, 1975.

       50.     The express warranties given by Manufacturer and/or required by statute to be

given by the Manufacturer, pertaining to the vehicle are "written warranties" as defined in the

Warranty Act, 15 U.S.C. § 2301(6).

       51.     That this sales transaction is subject to the provisions and regulations of the

Magnuson-Moss Warranty Act(15 U.S.C. § 2301, et seq).

       52.     The above-described actions, including, but not limited to, the failure of Defendant

to honor the warranty and/or to seek arbitration contrary to the Warranty Act, and/or to ignore the

rules and regulations constitute breach of the written warranties and of the Warranty Act.

       WHEREFORE, Plaintiff is entitled to recovery of all monies paid on the vehicle and to

damages in the form of all out-of-pocket expenses and all other damages, including exemplary and

consequential damages as determined by the truer of fact, but exceeding not $49,000.00, together


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with all costs and actual reasonable attorney fees as provided for by statute and for whatever other

legal and equitable relief the Court may deem proper.

       DATED this the 29th day of January 2019.



                                             /s/ Earl P. Underwood, Jr.
                                             EARL P. UNDERWOOD,JR.(LAMM)


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PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY OF THE ISSUES IN T.                                CASE.

                                             /s/ Earl P. Undemood, Jr.

DEFENDANT TO BE SERVED BY CERTIFIED MAIL AT:

Ford Motor Company
c/o C T Corporation System
2 N Jackson St. Suite 605
Montgomery AL 36104
